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                        UNITED STATES DISTRICT COURT
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                           DISTRICT OF CONNECTICUT


JO LYNN WILSON                                                                           r_., rñ   I




V.                                          NO. 3:15CV207(RAR)
YALE UNIVERSITY,




                                    JUDGMENT

      This matter came before the Court for a trial by jury before the Honorable

Robert A Richardson, Un¡ted States Magistrate Judge; and

      The issues having been duly tried and the jury having rendered its verdict

on September 22nd,2017 in favor of the defendant; it is therefore

      ORDERED, ADJUDGED and DECREED that judgment be and is hereby

entered in favor of the defendant Yale University.

      Dated at Hartford, Gonnecticut, this 25th day of September,2017.

                                             ROBIN D. TABORA, Glerk



                                             By /s/ AB
                                               Angela Blue
                                               Deputy Clerk
EOD:9125117
